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Approved:    /s /____________________________________________
                  Richard Cooper, by SDA with permission
            Richard Cooper / Daniel Tracer / Allison Nichols
            Assistant United States Attorneys

Before:     HONORABLE STEWART D. AARON
            United States Magistrate Judge

                                               21 MAG 10220
            Southern District of New York

- - - - - - - - - - - - - - - - -       x
                                        :   SEALED COMPLAINT
UNITED STATES OF AMERICA                :
                                        :   Violations of
                - v. -                  :   15 U.S.C. §§ 78j(b) &
                                        :   78ff; 17 C.F.R. §
STEVEN GALLAGHER,                       :   240.10b-5; 15 U.S.C.
  a/k/a “Alex Delarge,”                 :   § 78i(a)(2); 18 U.S.C. §§
  a/k/a “@AlexDelarge6553,”             :   1343, 1348 & 2.
                                        :
                 Defendant.             :   COUNTY OF OFFENSE:
                                            New York
- - - - - - - - - - - - - - - - -       X

SOUTHERN DISTRICT OF NEW YORK, ss.:

     KINGSTON MOY, being duly sworn, deposes and says that he is
a Special Agent with the United States Department of Homeland
Security, Homeland Security Investigations (“HSI”) and charges
as follows:

                              COUNT ONE
                         (Securities Fraud)

     1.   From at least in or about May 2020, up to and
including the present, in the Southern District of New York and
elsewhere, STEVEN GALLAGHER, a/k/a “Alex Delarge,” a/k/a
“@AlexDelarge6553,” the defendant, willfully and knowingly,
directly and indirectly, by the use of means and
instrumentalities of interstate commerce, and the mails and
facilities of national securities exchanges, did use and employ,
and cause to be used and employed, in connection with the
purchase and sale of securities, manipulative and deceptive
devices and contrivances in contravention of Title 17, Code of
Federal Regulations, Section 240.10b-5, by (a) employing
devices, schemes, and artifices to defraud; (b) making untrue
statements of material fact and omitting to state material facts
necessary in order to make the statements made, in light of the
circumstances under which they were made, not misleading; and
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(c) engaging in acts, practices and courses of business which
operated and would operate as a fraud and deceit upon persons,
and aided and abetted the same, to wit, GALLAGHER used Twitter
communications to engage in a fraudulent pump-and-dump scheme
through which he misrepresented the nature of his personal
financial stake in certain over-the-counter penny stocks in
order to induce others to purchase those stocks, and thereby
drive up the stocks’ prices, while GALLAGHER simultaneously and
secretly sold, or dumped, his own previously acquired shares at
those artificially inflated prices.

      (Title 15, United States Code, Sections 78j(b) & 78ff;
  Title 17, Code of Federal Regulations, Section 240.10b-5; and
             Title 18, United States Code, Section 2.)

                               COUNT TWO
                             (Wire Fraud)

     2.   From at least in or about May 2020, up to and
including in or about the present, in the Southern District of
New York and elsewhere, STEVEN GALLAGHER, a/k/a “Alex Delarge,”
a/k/a “@AlexDelarge6553,” the defendant, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property,
including the right to make economic decisions based on true and
accurate information, by means of false and fraudulent
pretenses, representations, and promises, transmitted and caused
to be transmitted by means of wire, radio, and television
communication in interstate and foreign commerce, writings,
signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, to wit, through the use of
interstate wires, GALLAGHER engaged in a fraudulent pump-and-
dump scheme through which he used Twitter to misrepresent the
nature of his personal financial stake in certain over-the-
counter penny stocks in order to induce others to purchase those
stocks, and thereby drive up the stocks’ prices, while GALLAGHER
simultaneously and secretly sold, or dumped, his own previously
acquired shares at those artificially inflated prices.

      (Title 18, United States Code, Sections 1343 and 2.)

                             COUNT THREE
                         (Securities Fraud)

     3.   From at least in or about May 2020, up to and
including in or about the present, in the Southern District of
New York and elsewhere, STEVEN GALLAGHER, a/k/a “Alex Delarge,”

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a/k/a “@AlexDelarge6553,” the defendant, willfully and knowingly
executed a scheme and artifice to (a) defraud persons in
connection with securities of an issuer with a class of
securities registered under Section 12 of the Securities
Exchange Act of 1934 and that was required to file reports under
Section 15(d) of the Securities Exchange Act of 1934, and (b)
obtain, by means of false and fraudulent pretenses,
representations, and promises, money and property in connection
with the purchase and sale of securities of an issuer with a
class of securities registered under Section 12 of the
Securities Exchange Act of 1934 and that was required to file
reports under Section 15(d) of the Securities Exchange Act of
1934, to wit, GALLAGHER used Twitter communications to engage in
a fraudulent pump-and-dump scheme through which he
misrepresented the nature of his personal financial stake in
over-the-counter securities of Alpine 4 Holdings, Inc., Indoor
Harvest Corp., and SpectraScience Inc., in order to induce
others to purchase those stocks, and thereby drive up the
stocks’ prices, while GALLAGHER simultaneously and secretly
sold, or dumped, his own previously acquired shares at those
artificially inflated prices.

      (Title 18, United States Code, Sections 1348 and 2.)

                              COUNT FOUR
                        (Market Manipulation)

     4.   From at least in or about July 2020, up to and
including in or about August 2020, in the Southern District of
New York and elsewhere, STEVEN GALLAGHER, a/k/a “Alex Delarge,”
a/k/a “@AlexDelarge6553,” the defendant, willfully and
knowingly, directly and indirectly, by the use of the mails and
any means or instrumentality of interstate commerce, and of any
facility of any national securities exchange, and for any member
of a national securities exchange, effected, alone and with one
and more other persons, a series of transactions in any security
registered on a national securities exchange, any security not
so registered, and in connection with any security-based swap or
security-based swap agreement with respect to such security
creating actual or apparent active trading in such security, and
raising and depressing the price of such security, for the
purpose of inducing the purchase or sale of such security by
others, to wit, GALLAGHER engaged in a series of transactions in
the securities of SPO Global Inc. in order to raise their price
and induce others to purchase those securities, and thereby
drive up the stocks’ prices, while GALLAGHER simultaneously and
secretly sold.

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 (Title 15, United States Code, Sections 78i(a)(2) and 78ff; and
             Title 18, United State Code, Section 2.)

     The bases for my knowledge and for the foregoing charges
are, in part, as follows:

     5.   I have been a Special Agent with HSI for approximately
four years. I am currently assigned to a squad that is responsible
for investigating violations of the federal securities laws, as
well as wire and mail fraud laws and related offenses.      I have
participated in numerous investigations of these offenses, and I
have made and participated in making arrests of numerous
individuals for committing such offenses.

     6.   The information contained in this affidavit is based
upon my personal knowledge, as well as information obtained during
this investigation, directly or indirectly, from other sources,
including documents provided by others, from speaking with
witnesses, and from conversations with representatives of the
United States Securities and Exchange Commission (the “SEC”).
Because this affidavit is being submitted for a limited purpose,
I have not set forth each and every fact I have learned in
connection with this investigation.      Where conversations and
events are referred to herein, they are related in substance and
in part unless otherwise noted.       Where dates, figures, and
calculations are set forth herein, they are approximate.

                 Summary of the Fraudulent Scheme

     7.   As set forth more fully below, in or about 2020 through
in or about the present, STEVEN GALLAGHER, a/k/a “Alex Delarge,”
a/k/a “@AlexDelarge6553,” the defendant, has operated a fraudulent
pump-and-dump scheme that employed a variety of tactics to defraud
individual, non-professional investors – so-called “retail
investors” – in thinly traded over-the-counter securities.
GALLAGHER operated his scheme principally on the social media
website Twitter, where he created an account using the alias “Alex
DeLarge” (the “DeLarge Twitter Account”) in or about September
2019. Over time, GALLAGHER gained substantial numbers of followers
for the DeLarge Twitter Account, and as of October 19, 2021, the
DeLarge Twitter Account had over 70,000 followers.

     8.     STEVEN   GALLAGHER,   a/k/a   “Alex  Delarge,”   a/k/a
“@AlexDelarge6553,” the defendant, repeated the scheme again and
again with respect to numerous securities, employing substantially
the same means and methods.     As part of his fraudulent scheme,


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GALLAGHER first secretly acquired a substantial volume of shares
of thinly traded penny stocks, which typically traded “over-the-
counter” (i.e., via a broker-dealer network, and not on a
centralized exchange such as the New York Stock Exchange) (the
“Subject Securities”).    GALLAGHER then used the DeLarge Twitter
Account to artificially “pump” the Subject Securities, including
by making materially false and misleading statements about those
securities.   For example, GALLAGHER made false and misleading
statements about the nature and timing of GALLAGHER’s own financial
interest in those securities, at times representing that he was
purchasing or holding shares of certain of the Subject Securities
he was touting when, in fact, he was secretly selling. During the
course of the scheme, GALLAGHER also regularly posted images of
his brokerage account balance and gains on the Delarge Twitter
Account in order to bolster his reputation and induce his followers
to trade in accordance with his suggestions.

     9.   During the “pump” phase of this scheme, the prices of
the Subject Securities rose when the Twitter followers of the
DeLarge Twitter Account purchased them. Then, STEVEN GALLAGHER,
a/k/a “Alex Delarge,” a/k/a “@AlexDelarge6553,” the defendant,
began the “dump” phase of the scheme wherein he sold his shares at
the inflated prices while continuing to use the DeLarge Twitter
Account to disseminate materially false and fraudulent statements
in an effort to obtain the best possible sales price for himself.
As a result of this fraudulent scheme, GALLAGHER earned over $1
million in trading profits.

     10. In addition to making false and misleading statements to
“pump” the Subject Securities, as a further part of his fraudulent
scheme,   STEVEN    GALLAGHER,   a/k/a   “Alex   Delarge,”    a/k/a
“@AlexDelarge6553,” the defendant, also engaged in an additional
form of market manipulation with at least one of the Subject
Securities.    Specifically, GALLAGHER engaged in a series of
transactions designed to artificially raise the end-of-day price
of one of the Subject Securities by making purchases at above-
market prices in order to make the stock appear favorable to
potential purchasers, a deceptive practice known as “marking the
close.”   As with GALLAGHER’s efforts to artificially raise the
price of the Subject Securities through false and misleading
statements, these manipulative transactions induced other market
participants to purchase the security and continue the upward trend
in its price while GALLAGHER secretly sold his shares at a profit.




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                              Background

     11. Based   on   my   training  and   experience,  and   my
participation in this investigation, I have learned, among other
things, that:

          a.   Certain companies have securities that trade “over
the counter.”    Those securities, which are called “over-the-
counter securities” or “OTC securities,” typically do not trade on
centralized exchanges such as the New York Stock Exchange or the
NASDAQ Stock Exchange. OTC securities often trade for less than
one dollar per share, and thus are often referred to as “penny
stocks.” Many OTC securities are thinly traded, and therefore are
particularly susceptible to stock manipulation schemes.        OTC
securities including the Subject Securites purchased during the
time periods described below used clearing and settlement services
provided by the Depository Trust & Clearing Corporation, which
maintains servers in the Southern District of New York that are
involved in the settling and clearing process.

          b.    STEVEN GALLAGHER, a/k/a “Alex Delarge,” a/k/a
“@AlexDelarge6553,” the defendant, resides in or around Ohio, and
is an active day trader in OTC securities. GALLAGHER also controls
and operates the DeLarge Twitter Account which, as further
described below, GALLAGHER uses to perpetrate his pump-and-dump
scheme involving the purchase and sale of OTC securities.

     12. Based on information received          from   Twitter,   I   have
learned, among other things, that:

          a.   In or about September 8, 2019, GALLAGHER created
the DeLarge Twitter Account. 1    As a profile picture, GALLAGHER
selected an image of the Alex DeLarge character from the movie A
Clockwork Orange. 2 The alias used for the DeLarge Twitter Account,
“Alexander Delarge 655321,” is a further reference to A Clockwork
Orange, as the Alex DeLarge character’s prisoner number in the
movie is 655321.    As of October 19, 2021, the DeLarge Twitter
Account had over 70,000 followers. A screenshot of the profile of


1 I participated in an interview of GALLAGHER on or about October
25, 2021 during which, in substance and in part, GALLAGHER
confirmed that he controls the DeLarge Twitter Account.

2 “Alex DeLarge” is a character from the Anthony Burgess novel A
Clockwork Orange and the Stanley Kubrick film of the same name.
The DeLarge character is a gang leader who commits violent
crimes.
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the DeLarge Twitter Account is reproduced below:




                    GALLAGHER’s Fraudulent Scheme

     13. As set forth in detail below, STEVEN GALLAGHER, a/k/a
“Alex Delarge,” a/k/a “@AlexDelarge6553,” the defendant, engaged
in a Twitter-based pump-and-dump scheme with respect to the
securities of at least six issuers, which comprise the Subject
Securities, earning more than $1 million in trading profits.

SCIE

     14. Based on my review of publicly available information, I
have learned that SpectraScience Inc. is a California-based
company whose securities trade over-the-counter under the ticker
symbol “SCIE.”   Accordingly to publicly available information,
SCIE is delinquent on the SEC filings that it is obligated to make
as a public company and has not made any SEC filings since
approximately 2017.

     15. Based on my review of records obtained from a brokerage
company where STEVEN GALLAGHER, a/k/a “Alex Delarge,” a/k/a
“@AlexDelarge6553,” the defendant, maintained a trading account
(“the Brokerage”), the contents of the DeLarge Twitter Account,
and publicly available information from the DeLarge Twitter
Account, I have learned, among other things, that:


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          a.   On or about December 5, 2020, GALLAGHER exchanged
direct messages (a form of Twitter communication that can only be
seen by the message’s recipient, and is not publicly viewable)
with two other Twitter users. In those messages, the participants
discussed acquiring SCIE securities and then pumping the stock
afterwards. Specifically:

             i.     GALLAGHER received a direct message from one
associate that read, in substance and in part, “So [an associate]
ran by me the SCIE play for monday. I think this should be our
only play Monday. Push it right after the team loads up. Just came
off a 2B volume. At .0002.” Based on my training and experience,
and participation in this investigation, I believe that in this
message, GALLAGHER was planning to have a select group, or a
“team,” buy the stock before they pumped it.

            ii.     GALLAGHER sent two direct messages to an
associate (“Associate-1”) that read, “Scie send me the real DD the
things we can talk abouts im on a break from random ponzie trip
plays....” and “Scie send what you have. If team agees im a team
player.” Based on my training and experience, and participation
in this investigation, I believe that in this message, GALLAGHER
was coordinating to trade in concert with a team.

           iii.     Similarly, GALLAGHER sent a direct message to
another associate that read, “if you keep scie quit so i can get
in cheap ill try to give it a run starting Tuesday cool?” Based
on my training and experience, and participation in this
investigation, I believe that in this tweet, GALLAGHER was planning
to buy cheap stock before pumping the stock, or “give it a run.”

            iv.     At the same time he was discussing the
purchase of SCIE shares, GALLAGHER also engaged in discussions
that reflected a concern that SCIE did not have any business. For
example, GALLAGHER received a direct message from Associate-1 that
read, “SCIE is just shell with no guts...”

          b.   Shortly thereafter, GALLAGHER began to execute the
pump-and-dump scheme. GALLAGHER first began acquiring shares of
SCIE on or about December 7, 2020, when he purchased 10 million
shares at a price of $0.003 per share. As of on or about January
13, 2021, GALLAGHER had acquired over 26 million shares of SCIE.

          c.   During this period when GALLAGHER was acquiring
shares of SCIE, GALLAGHER exchanged direct messages with others in
which they discussed the fact that SCIE was a defunct company with
no actual operations. For example:


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            i. On or about January 4, 2021, GALLAGHER received a
               direct message that read:

                      what makes you think scie will move i
                      mean the website is dead the companys
                      address is that of neogenesis and the
                      company profile says out of business plus
                      the ceo has left and went to another
                      company. just dont want to sink to much
                      into this one without a little more info
                      and thats all i can find.

               Based on my training and experience, and my
participation in this investigation, I believe that this message
indicates that the website for the company SCIE was inoperable
(“the website is dead”) and the listed address for SCIE is actually
the address for an entirely different company.

            ii.       Similarly, on or about January 5, 2021,
GALLAGHER received    a direct message that read, “Whats the deal
with SCIE? I can't    find anything on it other than what i see on
OTCMarkets. I know   what they do but are they still in BIZ? How do
you know they will   be current?”

          d.   GALLAGHER began disseminating tweets touting SCIE
almost immediately after his first purchases.        In the period
between December 7, 2020 and January 13, 2021, when he was building
his SCIE position, GALLAGHER posted at least approximately 24
tweets that touted SCIE, including the following public tweet
encouraging the purchase of SCIE stock:




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          e.   In late January 2021, while GALLAGHER was actively
touting SCIE, the share price for SCIE rose by approximately 300%.

          f.   After the market closed on or about January 27,
2021, GALLAGHER entered four limit sell orders, each for one
million shares, for prices between approximately 177% and 344%
higher than the closing price of SCIE stock that day. 3      Those
orders were executed after the market opened on or about January
28, 2021. Minutes after those sell orders were executed, GALLAGHER
purchased approximately two million shares of SCIE. Later that
day on January 28, 2021, GALLAGHER sold approximately one million
shares of SCIE. Throughout that day, GALLAGHER issued a series of
tweets encouraging his followers to buy SCIE and falsely
representing that he was not selling any shares of SCIE, including
the following:

             i.     GALLAGHER tweeted a screenshot of a buy order
for one million shares of SCIE along with the text, “My $scie
#buyscie order filled averaging up for the team! Buy smart sell
smart we all win. FYI havent sold a share....”

            ii.     GALLAGHER tweeted a second screenshot of a buy
order for one million shares of SCIE along with the text, “Ok one
more mill averaging up! Haven't sold a share. $scie #buyscie buy
the ask sell the ask. Most are! Some arnt!!” 4




3 A limit sell order is one that only executes if and when the
stock price reaches a particular number.

4 Based on my training and experience and my participation in
this investigation, I understand that many stocks are quoted
with both bid and ask prices, with the ask price typically
exceeding the bid. By encouraging his followers to “buy the
ask”, I believe that GALLAGHER was suggesting that they buy
shares at the higher “ask” price in order to raise the
prevailing market price of the stock.
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           iii.     GALLAGHER continued to post tweets touting the
stock and misrepresenting his own selling activity: “$scie
#buyscie the experiment thoughts! I'll be adding at the ask as
everyday! Havent sold a share yet! Most are in! Now we push to
highs by never sell to the bid”




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          g.   The following day, on or about January 29, 2021,
GALLAGHER sold approximately 21.5 million shares of SCIE. That
same day, GALLAGHER continued to issue tweets touting SCIE, and
also issued false tweets suggesting that he was not selling his
position. For example:

             i.     GALLAGHER issued a tweet that read, in
substance and in part, “- $scie #buyscie ... I'll be adding at
the ask as everyday! Havent sold a share yet!”

            ii.     In response to a tweet by another user asking
“you still holding scie?”, GALLAGHER responded in a tweet that
read, “yes i'm holding $scie. it benefits me in no way to sell. I
need this in the green like last 4 days. people bail. triggers
hit. But the team concept clearly isn't possible unless on reddit.
Lol”



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     16. From my review of information obtained from the SEC, I
have learned, among other things, that on or about February 11,
2021, the SEC issued an announcement that it was temporarily
suspending trading in SCIE. The reason for the suspension cited
in the notice was that “certain social media accounts may be
engaged in a coordinated attempt to artificially influence the
share price of SpectraScience Inc.[], an inactive Minnesota-based
corporation.”

     17. On or about February 12, 2021, STEVEN GALLAGHER, a/k/a
“Alex Delarge,” a/k/a “@AlexDelarge6553,” the defendant, sent a
direct message to an associate that read, “scie was as good as i
made it.” In other words, GALLAGHER believed that he had caused
the stock price of SCIE to rise before profiting from his SCIE
shares.

     18. Based on my review of brokerage records for STEVEN
GALLAGHER, a/k/a “Alex Delarge,” a/k/a “@AlexDelarge6553,” the
defendant, as well as information obtained from the SEC, I have
learned that in total, GALLAGHER earned profits of approximately
$22,000 from his trading in SCIE in the three month period between
in or about January and March 2021.

SPOM

     19. Based on my review of publicly available information, I
have learned that SPO Global Inc. is a company whose securities
trade over-the-counter under the ticker symbol “SPOM.”

     20. Based on my review of records obtained from the
Brokerage, the contents of the DeLarge Twitter Account, which were
obtained pursuant to judicially authorized search warrant, and
publicly available information from the DeLarge Twitter Account,
I have learned, among other things, that:

          a.   STEVEN GALLAGHER, a/k/a “Alex Delarge,” a/k/a
“@AlexDelarge6553,” the defendant, first began acquiring shares of
SPOM on or about February 18, 2020, at prices between 16 cents and
19 cents per share. As of on or about August 3, 2020, GALLAGHER
had acquired over 1.6 million shares of SPOM.

GALLAGHER Made False and Misleading Statements to Artificially
Inflate SPOM’s Stock Price

          b.   GALLAGHER began disseminating tweets touting SPOM
almost immediately after his first purchases.       In the period
between February 18, 2020 and August 3, 2020, when he was building
his SPOM position, GALLAGHER posted over 130 tweets that touted

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SPOM. Some of those tweets described his own trading in and gains
from SPOM, including the following:

             i.     On   or  about   March  9,   2020,  GALLAGHER
disseminated a tweet in which he wrote, in substance and in part,
“Finally hit 1 million shares of $spom. . . .”




            ii.     On   or   about   May  5,   2020,  GALLAGHER
disseminated a tweet in which he posted an image of what appears
to be his brokerage account balance, showing a daily gain of
$43,137.90, above which he tweeted “Thanks $spom !!!”



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          c.   In the period after August 3, 2020, when the SPOM
stock price rose precipitously, GALLAGHER began dumping, or
selling substantial portions of his SPOM holdings while
simultaneously disseminating false and misleading tweets about the
nature of his SPOM holdings. For example:

             i.    On or about August 5, 2020, GALLAGHER sent a
direct message to another Twitter user in which he wrote, in
substance and in part, “1.7 mill of spom how can i sell those

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without tanking it lol.” Based on my training and experience, and
participation in this investigation, I believe that in this tweet,
GALLAGHER was privately acknowledging that he wanted to sell his
1.7 million shares of SPOM holdings but was concerned that if there
were not sufficient buy orders, his sell orders would result in a
substantial price decrease (“tanking it”).

            ii.     That same day, August 5, 2020, GALLAGHER began
selling SPOM shares. Between August 5, 2020, and September 15,
2020, GALLAGHER sold approximately 1.3 million of his SPOM shares.

           iii.     During the period when he was selling those
approximately 1.3 million shares of SPOM, GALLAGHER disseminated
false and misleading public tweets through Twitter in which he
misrepresented his financial position in SPOM, giving the false
impression that he had not sold. For example:

                    1.    On or about August 10, 2020, GALLAGHER,
as part of his efforts to prevent selling and maintain an inflated
price for SPOM, sent direct messages to various Twitter users in
which he wrote, in substance and in part, “not selling spom its
spom week,” “BUY SPOM BUDDY,” and “spom is my atm buy dips sell
the rips and this hasnt ripped yet.” In fact, between August 3
and August 10, 2020, GALLAGHER had sold approximately 151,000
shares of SPOM, or 9% of his SPOM holdings.

                     2.   On or about August 16, 2020, GALLAGHER
disseminated a false and misleading public tweet in which he wrote,
in substance and in part, “. . . . I love $spom i buy every dip
and yes ill sell some on the rips unfortunately we havent seen a
$spom rip yet!! but its coming.”        Based on my training and
experience, and my participation in this investigation, I believe
that in this tweet, GALLAGHER was suggesting that while his trading
strategy includes selling some shares of a stock when its price
dramatically rises (“sell some on the rips”), he had not done so
for SPOM (“unfortunately we haven’t seen a $spom rip yet!!”). In
fact, between August 3 and August 16, 2020, GALLAGHER had sold
approximately 616,000 shares of SPOM, or 37% of his SPOM holdings.

                    3.   On or about August 25, 2020, GALLAGHER
disseminated a public tweet in which he wrote, in substance and in
part, “That's its!! Selling everything and buying all $spom!”




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          d.   In this period after August 3, 2020, when GALLAGHER
sold substantial portions of his SPOM holdings, he continued to
disseminate tweets that touted SPOM and encouraged the followers
of the DeLarge Twitter Account to purchase SPOM.

GALLAGHER Also Engaged in Manipulative Trading to Further Inflate
the Price of SPOM

     21. In addition to his conduct pumping SPOM through false
and misleading misrepresentations, STEVEN GALLAGHER, a/k/a “Alex
Delarge,” a/k/a “@AlexDelarge6553,” the defendant, also engaged in
manipulative trading conduct in SPOM securities.     Specifically,
and as described below, in or about late July 2020, GALLAGHER
engaged in securities trades that appear to have been designed to
artificially raise the price of SPOM at the end of the trading day
in order to induce others to purchase the stock.      Based on my
review of trading records and information obtained from the SEC,
as well as the contents of the DeLarge Twitter Account, I have
learned, among other things, that:

          a. On or about July 23, 2020, between 3:54 p.m. and 3:59
p.m. (i.e., near the end of the trading day), GALLAGHER entered
five buy limit orders for SPOM stock at prices above the offer
price.   A “limit order” is an order to execute at a particular
price and the offer price is the best price at which another market
participant is willing to sell his or her shares. In other words,

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GALLAGHER was asking to buy shares at a higher (i.e., worse) price
than what was available to him in the market. Those orders were
executed shortly thereafter.

          b. On or about July 27, 2020, at 3:59 p.m., GALLAGHER
entered three buy limit orders for SPOM stock at prices above the
offer price. Those orders were executed shortly thereafter.

          c. On or about July 28, 2020, between 3:56 p.m. and 3:59
p.m., GALLAGHER entered ten buy limit orders for SPOM stock at
prices above the offer price. Those orders were executed shortly
thereafter.

          d. The Brokerage, through which GALLAGHER placed the
orders described above, sent an email to GALLAGHER on or about
July 29, 2020 in the morning warning him about this manipulative
trading conduct.     That email, with subject line “Possible
manipulative trading in your account,” read, in substance and in
part:

          In particular, we want you to be aware of the
          practice known as manipulative trading .... [A]n
          instance of manipulative trading may have
          occurred in your account .... During the period
          of July 23-July 28, the client [GALLAGHER]
          executed bids in SPOM which had the effect of
          raising the closing price of the stock. This
          activity may be considered marking the close by
          regulators.

          Manipulative trading practices constitute a serious
          violation of exchange trading rules.

          e. Notwithstanding this email, GALLAGHER continued to
engage in a pattern of manipulative trading with respect to SPOM.
On or about July 29, 2020, between 3:51 p.m. and 3:59 p.m.,
GALLAGHER entered eight buy limit orders for SPOM stock at prices
above the offer price.    Those orders were filled thereafter at
lower prices.

          f. Also on or about July 29, 2020, GALLAGHER issued a
tweet that read, “I’ll be hitting $spom at .17 come join me move
this. EOD.”     Based on my training and experience, and my
participation in this investigation, I believe that in this tweet
GALLAGHER was instructing his Twitter followers to assist him in
the deceptive practice known as “marking the close,” designed to
raise the end-of-day [“EOD”] price of SPOM by making purchases at
above-market prices in order to make the stock appear favorable to

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potential purchasers. On or about October 25, 2021, I participated
in an interview of GALLAGHER, during which he said, in substance
and in part, that he issued the tweet referenced in this paragraph
in order to move the market and increase the price of SPOM stock.

          g. On or about July 30, 2020, between 3:49 p.m. and 3:59
p.m., GALLAGHER again entered five buy limit orders for SPOM stock
at prices above the offer price.      Those orders were executed
shortly thereafter.

          h. The Brokerage sent another warning email to GALLAGHER
on or about July 31, 2020 in the morning. That email, with subject
line “Restrictions on your account due to appearance of potentially
manipulative trading,” read, in substance and in part:

          As you may remember, we wrote you previously
          about the practice known as manipulative trading,
          the possibility that it may have occurred in your
          account, and the potential penalties involved.
          However, another instance of potentially
          manipulative trading may have occurred in the
          account....

          Between 7/29/2020 and 7/30/2020, the above listed
          account established a pattern of trading that could
          potentially be viewed as manipulative by outside
          regulators. The account holds a position in SPOM
          and is placing buy orders near the close of the
          trading day.   Outside regulators could view this
          trading activity as an attempt to uptick/stabilize
          the stock price and/or mark the close.

          i. Notwithstanding that email from the Brokerage, on or
about July 31, 2020, between 3:56 p.m. and 3:59 p.m., GALLAGHER
entered two buy limit orders for SPOM stock at prices above the
offer price. Those orders were filled thereafter at lower prices.

          j. On or about August 12, 2020, GALLAGHER issued a tweet
that read, “Always love waking to my [Brokerage] account restricted
do [sic] to stock manipulation! Who would try to move $spom EOD
not me! After 30 min on the phone im out of TDA jail!!”




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     22. Based on my review of brokerage records for STEVEN
GALLAGHER, a/k/a “Alex Delarge,” a/k/a “@AlexDelarge6553,” the
defendant, as well as information obtained from the SEC, I have
learned that GALLAGHER fully exited his position in SPOM on or
about February 24, 2021. In total, GALLAGHER earned profits of
approximately $288,000 from his trading in SPOM.

ALPP

     23. Based on my review of publicly available information, I
have learned that Alpine 4 Holdings, Inc. is a company whose
securities trade over-the-counter under the ticker symbol “ALPP.”

     24. Based on my review of records obtained from the
Brokerage, the contents of the DeLarge Twitter Account, and
publicly available information from the DeLarge Twitter Account,
I have learned, among other things, that:

          a.   GALLAGHER first began acquiring shares of ALPP on
or about December 8, 2020, at 52.5 cents per share. As of on or
about December 21, 2020, GALLAGHER had acquired over approximately
125,000 shares of ALPP.

          b.   GALLAGHER began disseminating tweets touting ALPP
almost immediately after his first purchases. On or about December

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8, 2020, after his first purchase, GALLAGHER tweeted, “OK I bought
$alpp after two years of listening i give up! Im in at 52 week
high!!” In the period between December 8, 2020 and December 22,
2020 (when GALLAGHER first sold some of his ALPP holdings),
GALLAGHER posted approximately 28 tweets that touted ALPP. Some
of those tweets described his own trading in ALPP and his purported
strategy not to sell his ALPP shares, including the following
tweets, all issued on or about December 21, 2020:

             i.      GALLAGHER first issued a tweet that attached
a screenshot of what appears to be a brokerage statement reflecting
a balance of 125,000 shares of ALPP, with a total trading gain of
$114,487.   The tweet read, “My $alpp confidence! Not selling a
share!! This makes up for that big losers stock the other day!!
$alpp will up list and we will see multi dollar run!! Whos with
me?”




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            ii.     GALLAGHER next issued a tweet that read, “i
aint selling $alpp long.”

           iii.     GALLAGHER then issued a tweet that attached a
screenshot of what appears to be a brokerage account statement
reflecting a balance of $2,222,962.43. The tweet read, in part,
“Green day great OTC action ... $alpp up 48% ... Big green for all
I hope!”

          c.   The following day, on or about December 22, 2020,
GALLAGHER sold 10,000 shares of ALPP.

           d.  Beginning on or about January 14, 2021, through on
or about March 11, 2021, GALLAGHER sold approximately 109,080
shares of ALPP, which represented nearly his entire ALPP position.
During that period of time, GALLAGHER continued to disseminate
tweets that touted ALPP, including tweets that misrepresented the
nature of his personal financial stake in ALPP, including the
following:

             i.       On or about January 14, 2021, GALLAGHER issued
a tweet that read:

                $alpp 100% must own! Why?
                1 $35 million in projected earnings
                2 NASDAQ up list 2021 PR confirms goal
                3 It's my #1 overall everyday OTC stock
                Advice: Buy dips (this is a dip)
                Current price $2.45 high $4.79
                Estimate $10 PPS pre ap list
                RETWEET GETS A FOLLOW
                LISTEN TO THIS




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            ii.     On or about January 15, 2021, GALLAGHER issued
a tweet that read, “$alpp is a must own!”

           iii.     On or about January 16, 2021, GALLAGHER
issused a tweet that read, “$alpp My thoughts! The best overall
long in OTC #1 I HOLD 113K SHARES”

            iv.     On or about January 19, 2021, GALLAGHER issued
a tweet that read, “$alpp This is my #1 otc biggest investment!
115k shares over $300k!! Lets see how this plays out!”

             v.       On or about January 22, 2021, GALLAGHER issued
a tweet that read:

                Stocks I hold huge portions I add red days and sell
                small chunks on rip days! These are my favorite
                runners
                1 $alpp
                                       * * *
                This is how to make money in the OTC
                I never say the sell word!
                But we are here to make money

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                 Sell smart! Sell the ask!

            vi.     On or about March 8, 2021, GALLAGHER issued a
tweet that read, “fully loaded in $alpp. its a big board to me!”
In fact, as of on or about March 8, 2021, GALLAGHER held only
approximately 10,000 shares of ALPP. Since on or about January
14, 2021, GALLAGHER had sold approximstely 104,000 shares (or 91%
of his holdings).

           vii.     On or about March 11, 2021, GALLAGHER issued
a tweet that read, “$alpp is a great stock i own ton of $alpp.”
In fact, by March 11, 2021, GALLAGHER was consistently selling
ALPP and had already sold nearly all of his holdings in ALPP.

     25. Based on my review of brokerage records for STEVEN
GALLAGHER, a/k/a “Alex Delarge,” a/k/a “@AlexDelarge6553,” the
defendant, as well as information obtained from the SEC, I have
learned that in total, GALLAGHER earned profits of approximately
$471,000 from his trading in ALPP.

TSNP

     26. Based on my review of publicly available information, I
have learned that Tesoro Enterprises Inc. is a company whose
securities, during the time period described herein, traded over-
the-counter under the ticker symbol “TSNP.”

     27. Based on my review of records obtained from the
Brokerage, the contents of the DeLarge Twitter Account, and
publicly available information from the DeLarge Twitter Account,
I have learned, among other things, that:

          a.   GALLAGHER first began acquiring shares of TSNP on
or about November 10, 2020, when he purchased two million shares
of TSNP at $0.0017 per share.

          b.   On or about November 10, 2020, after acquiring his
shares, GALLAGHER sent Twitter direct messages to three other
users, each of which read, “tsnp alert coming.”        Based on my
training   and   experience,   and   my   participation   in   this
investigation, I understand this to mean that GALLAGHER was getting
ready to fraudulently pump TSNP.

           c.  GALLAGHER then began disseminating tweets touting
TSNP, a few hours after his initial purchase. That same day, in
a 16-minute window between approximately 11:36 a.m. and 11:52 a.m.,
GALLAGHER issued eight tweets touting TSNP, including the
following:

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          d.   At approximately 12:16 p.m. that same day,
GALLAGHER entered an order to sell one million shares of TSNP, and
that order was executed at $0.0022 per share.

           e.  Between November 10, 2020 and November 17, 2020,
GALLAGHER continued to issue tweets touting TSNP, including the
following:

             i.     On or        about   November   12,   2020,   GALLAGHER
issued a tweet that read:

                  FRIDAY LIST!! LOAD NOW!! NOT IN AM!!
                  1 $DRGV
                  2 $TSNP
                  THE REST TO BE ANNOUNCED!!

            ii.        On   or   about   November   12,   2020,   GALLAGHER

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issued a tweet that attached a screenshot of what appears to be a
brokerage account statement reflecting a balance of $1,557,899.94
with a daily gain of $32,568.78. The tweet read, in part:

                Market down big!! Alex rocks OTC and EV
                $drug up 145% list
                $halb up 45%
                $tsnp up 42% list
                $Paso up 11% list
                I'm happy hope you are
                Bashers blocked!! Unreal!




           iii.     On or about November 13,            2020,   GALLAGHER
issued a tweet that read, “Alert buy!! $tsnp”

             iv.    On or about November 13, 2020, GALLAGHER
issued a tweet that read, “If you sell $tsnp short your a fool!!!
Hold long!!”

             v.    On or about November 16, 2020, GALLAGHER
issued a tweet that read, “HELL YES IM HOLDING LONG!! $TSNP ITS
REAL.”

            vi.     On or about November 16, 2020, GALLAGHER
issued a tweet that attached a screenshot of what appears to be a

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brokerage account statement reflecting holdings of one million
TSNP shares. That tweet read, “15 bagger! No pump amd dump here!!
1 dollar makes me a million!! $tsnp buyband hold! I am!!”

           vii.      On or about November 16, 2020, GALLAGHER
issued a tweet replying to another user’s tweet that read, in part,
“tell us when you are dumping.” In response, GALLAGHER tweeted,
“ILL POST MY MILLION SHARES AFTER CLOSE NOT SELLING $TSNP GREAT
NEWS COMING TUESDAY AND THURSDAY!!”

           f.   Contrary to this representation, GALLAGHER in fact
dumped all his shares of TSNP the next day at a substantial profit.
On or about November 17, 2020, at approximately 8:37 a.m.,
GALLAGHER entered orders to sell the one million shares of TSNP
that he held, and the orders were executed at prices between
$0.0244 and $0.0245 (i.e., 1,335% higher than the price at which
GALLAGHER had purchased TSNP shares on or about November 10, 2020).
Even after GALLAGHER sold, he continued to issue tweets touting
the stock and also falsely claiming he had not sold, including the
following:

              i.     GALLAGHER issued a tweet that attached a
screenshot of what appears to be a brokerage account statement
reflecting holdings of one million TSNP shares. The tweet read,
“$tsnp 20 bagger!! You ever have on of these! Not selling! Try
it!! Next stop 30 bags! Buy $tsnp.”      Based on my training and
experience, and participation in this investigation, I believe
that in this tweet GALLAGHER is saying that others should buy TSNP,
his TSNP investment has already returned 20 times his initial
investment (“20 bagger”), and he was not selling because he
believed that it would soon reach 30 times his initial investment
(“30 bags”). In fact, the morning of this tweet, GALLAGHER had
entered a sell order for his entire one million share position in
TSNP, which order was executed.




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          g.   Later in or about November 2020 and December 2020,
GALLAGHER purchased and sold additional TSNP shares.          As of
December 21, 2020, GALLAGHER held approximately 1.3 million shares
of TSNP. Beginning that day, and continuing through on or about
February 5, 2021, GALLAGHER sold approximately 1.26 million shares
of TSNP, which represented substantially all of his holdings.
Shortly before he began selling, and continuing through that period
when he was selling TSNP shares, GALLAGHER issued tweets touting
TSNP, including tweets touting TSNP and tweets that misrepresented
his personal financial stake in TSNP. Those tweets included:

             i.     On or about December 18, 2020, GALLAGHER
issued a tweet that read, “"$tsnp is a very long for me!! There
[sic] are doing all the right things! People think I'm a day
trader! I'm 80% long and swings!"”

            ii.     On or about January 4, 2021, GALLAGHER issued
a tweet that read, “$TSNP IS A LONG HOLD!! UPDATES ALL YEAR!!”

           iii.     On or about January 10, 2021, GALLAGHER issued
a tweet that read, “it's always good to be loaded in $tsnp one of
my favs.”

            iv.     On or about January 11, 2021, GALLAGHER issued
a tweet that read, “Tuesday must owns . . . 4 $cbbt $tsnp . . . Im
[sic] long on all these add red days sell small portions on the
rips and repeat!”    In fact, by this date, GALLAGHER had sold
approximately 1.1 million of the approximately 1.3 million shares
he had held on or about December 21, 2021.


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             v.     On or about January 23, 2021, GALLAGHER issued
a tweet that read, “$tsnp should hit a dollar NEXT week! I will
not be selling this rip! I'll be adding on the rip!! $tsnp time
is now!” In fact, however, by that date GALLAGHER had sold the
vast majority of his TSNP holdings, and contrary to his statement
that he would purchase additional shares, GALLAGHER continued
selling.




     28. Based on my review of brokerage records for STEVEN
GALLAGHER, a/k/a “Alex Delarge,” a/k/a “@AlexDelarge6553,” the
defendant, as well as information obtained from the SEC, I have
learned that in total, GALLAGHER earned profits of approximately
$298,000 from his trading in TSNP.

ENZC

     29. Based on my review of publicly available information, I
have learned that Enzolytics Inc. is a company whose securities,
during the time period described herein, traded over-the-counter
under the ticker symbol “ENZC.”

     30. Based on my review of records obtained from the
Brokerage, the contents of the DeLarge Twitter Account, and
publicly available information from the DeLarge Twitter Account,
I have learned, among other things, that:

          a.   GALLAGHER first began acquiring shares of ENZC on
or about July 14, 2020, when he purchased three million shares of
ENZC at $0.0007 per share. GALLAGHER continued to acquire shares

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of ENZC through on or about September 16, 2020, when he held
approximately seven million shares.

          b.   Beginning shortly after his initial purchase, and
continuing through September 16, 2020, GALLAGHER disseminated
tweets touting ENZC, including the following:




          c.   Beginning on or about September 16, 2020, and
continuing through on or about September 25, 2020, GALLAGHER
sold approximately 6.5 million shares of his ENZC holdings,
which represented substantially all of his holdings. During
that period, GALLAGHER issued tweets touting ENZC, including
tweets that misrepresented his personal financial stake in ENZC.
Those tweets included:

             i.     On or about September 16, 2020, a day when
GALLAGHER sold approximately three million shares of ENZC,
GALLAGHER sent a series of tweets about ENZC, including the
following:

                    1.   “Do you remember my past $enzc alerts?
Hope you got in then!! 7 million shares here!!”




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                    2.   “$enzc to merge with BioClonetics
Immunotherapeutics, Inc. The more I read this is big!!    Load!!
this!”




                      3.    “Must owns end of day!      1 $enzc “

                    4.   “$enzc Will be #1 on my list do to this
major medical news!! the buyers in the morning will be many!!
Alot less than now!! just satin”

                      5.    “I SEE A MULTI DAY RUN ON THIS MERGER

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NEWS! $ENZC SHOULD BRING IN NEW BUYERS ON THE NEWS. DAY TRADERS
SEE EARLY!! I EXPECT A BIGGER DAY TOMORROW!!




            ii.     On or about September 17, 2020, GALLAGHER
sent a series of tweets about ENZC, including the following:

                      1.    “$enzc still my #1 great run”

                      2.    “$enzc must own #1”

                      3.    “Two buys today!! $enzc $egyf longs!!”

           iii.     On or about September 18, 2020, a day when
GALLAGHER sold approximately two million shares of ENZC,
GALLAGHER sent a series of tweets about ENZC, including the
following:




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                    1.    “$enzc my first alert was in trips!! 7
million shares!! This is gonna be a life changer. I heard
someome bought 70 million shares today!! Someone knows what this
merger means!!! I do!!” 5




5 GALLAGHER attached to this tweet a screenshot of what appears
to be two brokerage confirmations for ENZC purchases; one for
three million shares on July 14, 2020 at a price of $0.0007 per
share, and one for two million shares on August 27, 2020 at
prices of $0.0009 and $0.001 per share.
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                      2.    “$enzc stock of the year!! great start”

            iv.     On or about September 22, 2020 and September
23, 2020, GALLAGHER sent a series of tweets about ENZC,
including the following:

                      1.    “And what ever you do!! Do not sell

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$enzc this is still running shorts cant even win on my current
#1 $enzc!! pennies coming do not sell before the massive news!!”

                    2.   “$enzc high on my list! Buying time for
me. People had to work to bring this down!”

                    3.   “$enzc long hold for me these are
bargain prizes cant wait for the news!!!”

                    4.   In fact, however, by September 22,
2020, GALLAGHER had sold millions of shares of ENZC.

     31. Based on my review of brokerage records for STEVEN
GALLAGHER, a/k/a “Alex Delarge,” a/k/a “@AlexDelarge6553,” the
defendant, as well as information obtained from the SEC, I have
learned that in total, GALLAGHER earned profits of approximately
$160,000 from his trading in ENZC.

INQD

     32. Based on my review of publicly available information, I
have learned that Indoor Harvest Corp. is a company whose
securities, during the time period described herein, traded over-
the-counter under the ticker symbol “INQD.”

     33. Based on my review of records obtained from the
Brokerage, the contents of the DeLarge Twitter Account, and
publicly available information from the DeLarge Twitter Account,
I have learned, among other things, that:

          a.   GALLAGHER first began acquiring shares of INQD on
or about May 22, 2020, when he purchased two million shares of
INQD at $0.0011 and $0.0012 per share.    GALLAGHER continued to
acquire shares of INQD through on or about May 29, 2020, at which
point he held approximately three million shares.

          b.   Beginning the same day as his initial purchase on
or about May 22, 2020, GALLAGHER disseminated tweets touting INQD,
including the following:

             i.     On or about May 22, 2020, GALLAGHER issued a
tweet that read, “Attention bargin shopper check out $INQD got a
million shares cheap. Ground floor grab 100k shares for hundred
bucks easy money.”




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            ii.     On or about May 24, 2020, GALLAGHER issued a
tweet that read, “I think we have a runner next week $inqd”

           iii.     On or about May 27, 2020, GALLAGHER issued a
tweet that read, “The list is doing well love the cheapies buy
these you can makle alot of money fast $inqd $ttcm $trep”

          c.   On or about August 13, 2020, GALLAGHER began
selling his position in INQD. That day, he sold approximately one
million shares at a price of $0.0044 per share.

          d.   The following day, on or about August 14, 2020, in
response to a tweet that read, “@AlexDelarge6553 what are your
thoughts on $INQD,” GALLAGHER responded by issuing a tweet that
read, “long hold! $inqd i have 3 mill shares, I've been in for a
while.”   In truth and in fact, GALLAGHER had sold one million
shares the prior day and at the time of this tweet, held two
million shares of INQD.

          e.   On or about February 4, 2021, while GALLAGHER held
two million shares of INQD, GALLAGHER issued a series of tweets
relating to INQD, including the following:

             i.      “$inqd!! never bailed!! Still holding my old
two million shares!! i never sell bags i like.”

            ii.     “5 greens in a row! All yesturday [sic]
alerts better today! yesterday otc winners ... $inqd up 71% ...
Anyone who calls me a pump and dump. Is fucking jealious [sic]!”


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          f.   The following day, on or about February 5, 2021,
GALLAGHER sold approximately 500,000 shares of INQD at a price
of $0.0149 per share.

          g.   Two days later, on or about February 7, 2021,
GALLAGHER issued tweets relating to INQD that read, “$inqd love
this as well!” and “$inqd been long here.”

          h.   GALLAGHER then sold approximately 500,000 INQD
shares on or about February 9 and 10, 2021, and on or about
February 10, 2021, GALLAGHER issued a tweet that read, “$INQD
LONG AND STRONG HERE.” In other words, GALLAGHER continued to
misrepresent that he was holding his same long position in INQD
even while, in fact, he was selling off his position.

          i.   GALLAGHER then sold the remainder of his INQD
position (approximately one million shares) on or about February
18, 2021.

     34. Based on my review of brokerage records for STEVEN
GALLAGHER, a/k/a “Alex Delarge,” a/k/a “@AlexDelarge6553,” the
defendant, as well as information obtained from the SEC, I have
learned that in total, GALLAGHER earned profits of approximately
$36,000 from his trading in INQD.

     35. Based on my review of public records and from speaking
with the SEC, I have learned that at least three of the Subject
Securities, SCIE, ALPP, and INQD, are companies that maintain a
class of securities registered under section 12 of the
Securities Exchange Act of 1934.

                GALLAGHER Deceives Additional Victims In
                     Private Twitter Communications

     36. As part of my investigation, I have learned that, in
addition to the fraudulent conduct described above in which,
STEVEN GALLAGHER, a/k/a “Alex Delarge,” a/k/a
“@AlexDelarge6553,” the defendant, used his public DeLarge
Twitter Account to make false and misleading statements,
including regarding his own trading, GALLAGHER made additional
false and misleading statements of similar kind to Twitter
followers in private Twitter communications.

     37. Over time, GALLAGHER gained substantial         numbers of
followers for the DeLarge Twitter Account, and as        of October 19,
2021, the DeLarge Twitter Account had over 70,000        followers.
Based on my review of both the publicly available        information
from the Delarge Twitter Account and the contents        of the account

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obtained pursuant to judicially authorized search warrant, I
have also learned that, in addition to the false and misleading
statements GALLAGHER made publicly, GALLAGHER also interacted
directly with others on Twitter and made additional false and
misleading statements in these communications.

     38. The ways that STEVEN GALLAGHER, a/k/a “Alex Delarge,”
a/k/a “@AlexDelarge6553,” the defendant, interacted with these
Twitter users make clear that other Twitter users sought and
acted on GALLAGHER’s advice, including his misrepresentations
about his own trading activity. For example:

          a.   On or about August 11, 2020, GALLAGHER used the
DeLarge Twitter Account to engage in a private direct message
conversation with another Twitter user (“User-1”) who had asked
GALLAGHER for advice on his position with SPOM, as follows:

          User-1: Should I sell, what is going on with spom?

          GALLAGHER: you buy why sell it’s a market bad [d]ay

          User-1: Do u think we end green today with spom? Are u
          still buying later as planned?

          User-1: Any help brother is appreciated.

          GALLAGHER: selling stoff to buy spom atm [at the
          moment]

          User-1: Ty [thank you] buddy

Meanwhile, contrary to what he told User-1, between August 5,
2020, and September 15, 2020, GALLAGHER sold approximately 1.3
million of his SPOM shares.

          b.   On or about September 23, 2020, GALLAGHER used
the DeLarge Twitter Account to engage in a private direct
message conversation with another Twitter user (“User-2”) who
had asked GALLAGHER for advice on his position with ENZC, as
follows:

          User-2: Are you done with ENZC

          User-2: Seems like you have moved onto other plays

          GALLAGHER: still holding

          User-2: For sure


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Meanwhile, contrary to what he told User-2, on or about
September 18, 2020, GALLAGHER had sold approximately two million
shares of ENZC, even as he continued to tout it on Twitter.

          c.   On or about November 17, 2020, GALLAGHER used the
DeLarge Twitter Account to engage in a private direct message
conversation with another Twitter user (“User-3”) who had asked
GALLAGHER for advice on his position with TSNP, as follows:

           User-3: TSNP pump and dump huh?

           GALLAGHER: PUMP ON MY END I LOVE IT 6

Meanwhile, contrary to what he told User-3, the same day of this
conversation, on or about November 17, 2020, GALLAGHER sold one
million shares of TSNP, the entirety of his holding at that
time.

    GALLAGHER’s False and Misleading Statements and Manipulative
         Trading Induced Retail Investor Victims to Purchase
                  Certain of the Subject Securities

     39. In addition to the foregoing, I have participated in
interviews of several individuals who, after STEVEN GALLAGHER,
a/k/a “Alex Delarge,” a/k/a “@AlexDelarge6553,” the defendant,
made false and misleading statements, including regarding his
own trading, bought particular stocks based, in part, on
GALLAGHER’s public statements on Twitter. These retail
investors indicated, in substance and in part, that they
followed the DeLarge Twitter Account initially believing that
GALLAGHER provided genuinely helpful investment advice.
Investors with whom I have spoken indicated that they found the
DeLarge Twitter Account reliable, in part, because of its large
number of followers and because GALLAGHER posted information
about his own financial positions that appeared to indicate that
he was making impressive profits connected to the investments
being discussed on the Twitter account. Some of the investors
with whom I have spoken made investment decisions, in whole or
in part, based on GALLAGHER’s recommendations through the
DeLarge Twitter Account, and some of them lost money on those
investments. For example:

          a.   Victim-1, a retail investor, bought shares of
SCIE based in part on GALLAGHER’s recommendation on the DeLarge
Twitter Account. Victim-1 recalled that the DeLarge Twitter

6 Further in the conversation User-3 noted that he or she had
made money on User-3’s investment in TSNP.
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Account heavily promoted SCIE. Victim-1 purchased SCIE
securities on or about January 29, 2021, the same day that
GALLAGHER, contrary to his prior tweets about his own position,
sold 21 million shares of SCIE. Victim-1 lost thousands of
dollars on Victim-1’s SCIE position.

          b.   Victim-2, a retail investor, purchased SCIE based
on promotion by the DeLarge Twitter Account. Based on the
DeLarge Twitter Account’s tweets promoting SCIE, Victim-2 sold a
position he had on another stock in order to reinvest the funds
in SCIE.   On or about January 28, 2021, Victim-2 purchased
approximately 2,500,000 shares of SCIE. (The same day that
Victim-2 had purchased SCIE, January 28, 2021, GALLAGHER tweeted
on the Delarge Twitter Account “Buy smart sell smart we all win.
FYI havent sold a share....,” even as GALLAGHER had bought
bought and sold some shares of SCIE the same day. The next day,
GALLAGHER sold 21 million shares of SCIE.) Victim-2 ultimately
lost thousands of dollars on his SCIE investment.

     WHEREFORE, I respectfully request that an arrest warrant be
issued for STEVEN GALLAGHER, a/k/a “Alex Delarge,” a/k/a
“@AlexDelarge6553,” the defendant, and that he be arrested and
imprisoned or bailed, as the case may be.


                                  /s/ Kingston Moy, by SDA with permission
                                  _ ____________________________
                                  KINGSTON MOY
                                  SPECIAL AGENT
                                  HOMELAND SECURITY INVESTIGATIONS

Sworn to me through the transmission
of this Complaint by reliable electronic means
pursuant to Federal Rule of Criminal Procedure 4.1,
this 25th day of October, 2021


______________________________
HONORABLE STEWART D. AARON
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




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